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07
                               UNITED STATES DISTRICT COURT
08                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
09

10
     UNITED STATES OF AMERICA,            )
11                                        )
                 Plaintiff,               )             Case No. CR06-26-RSL-JPD
12                                        )
           v.                             )
13                                        )
     MERHAWI HAILE,                       )             DETENTION ORDER
14                                        )
                 Defendant.               )
15   ____________________________________ )

16
     Offenses charged:
17
            Count 1: Conspiracy to Distribute Cocaine Base in violation of 21 U.S.C. §§ 841(a)(1),
18
     and 841(b)(1)(A), and 846.
19
            Count 32: Possession of Cocaine Base With Intent to Distribute in violation of 21 U.S.C.
20
     §§ 841(a)(1) and 841(b)(1)(C).
21
     Date of Detention Hearing: February 22, 2006.
22
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
23
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds
24
     the following:
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     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

02          (1)     Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that defendant

03 is a flight risk and a danger to the community based on the nature of the pending charges.

04          (2)     Defendant has a past history of a significant number of failures to appear.

05          (3)     Defendant has a lengthy, prior, criminal-offense background history.

06          (4)     The Assistant United States Attorney proffered that defendant made an attempt

07 to escape while being arrested on the instant charge.

08          (5)     Defendant’s background check reveals a prior revocation of probation

09 supervision.

10          (6)     It is alleged that defendant is associated with the East African Posse street gang,

11 which is reported to be involved heavily in criminal activity, including violent activity, and

12 possession of firearms. This is part of the conspiracy charge in the first count of the indictment.

13          (7)     Defendant has potential substance-abuse issues.

14          (8)     There are no conditions or combination of conditions that will reasonably assure

15 the appearance of defendant as required, or the safety of the community

16          IT IS THEREFORE ORDERED:

17          (1)     Defendant shall be detained pending trial and committed to the custody of the

18                  Attorney General for confinement in a correction facility separate, to the extent

19                  practicable, from persons awaiting or serving sentences or being held in custody

20                  pending appeal;

21          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

22                  counsel;

23          (3)     On order of a court of the United States or on request of an attorney for the

24                  government, the person in charge of the corrections facility in which defendant

25                  is confined shall deliver the defendant to a United States Marshal for the purpose

26                  of an appearance in connection with a court proceeding; and

     DETENTION ORDER                                                                           15.13
     18 U.S.C. § 3142(i)                                                                    Rev. 1/91
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01         (4)   The Clerk shall direct copies of this Order to counsel for the United States, to

02               counsel for the defendant, to the United States Marshal, and to the United States

03               Pretrial Services Officer.

04         DATED this 23rd day of February, 2006.



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                                                       JAMES P. DONOHUE
07                                                     United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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